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Stephen C. Jones

3C Advisors LLC

1125 South Cleveland Street
Unit 114

Oceanside, CA 92054

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UNITED STATES BANKRUPTCY COURT

SOUTHERN DISTRICT OF CALIFORNIA

In re

INTEGRATEDMARKETING.COM,
dba RONI HICKS & ASSOCIATES,

Debtor.

 

 

 

CASE NO. 19-04688-CL7

CHAPTER 7

FIRST INTERIM APPLICATION FOR
ORDER AUTHORIZING PAYMENT OF
EXPERT WITNESS & PROFESSIONAL
FEES AND COSTS INCURRED BY 3C
ADVISORS LLC; DECLARATION OF
STEPHEN C. JONES IN SUPPORT

DATE: October 25, 2021
TIME: 10:00 a.m.
DEPT: D-5

HON. Christopher B. Latham

|, Stephen C. Jones, Expert Witness and 3C Advisors LLC (“Applicant”) respectfully

submits this Second Interim Application for an Order Authorizing Payment of Professional Fees

and Reimbursement of Costs incurred by Applicant as Financial Expert Witness for Ronald E.

Stadtmueller, Chapter 7 Trustee, (“Trustee”) during the period November 13, 2020, through and

including September 23, 2021.

 

 
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Pursuant to section 330 of the United States Bankruptcy Code and Rule 2016(a) of the
Federal Rules of Bankruptcy Procedure, Applicant respectfully requests that it be allowed, as an
administrative expense for services rendered to the Trustee in connection with the above-
entitled bankruptcy case, the sum of $31,580.20 in professional fees & costs incurred.

I.
STATEMENT OF THE CASE

A description of the case is set forth in detail in the applications of the Trustee’s counsel. 3C
Advisors was employed to render, among other things, expert financial and valuation services and related
research and analytics to the Trustee regarding operations, research, valuations and fairness opinions on
various transactions of Integrated Marketing.Com, dba, Roni Hicks & Associates (“Debtor”).

More specifically, 3C Advisors provided detailed research on Trustee duties, responsibilities as a
fiduciary. Researched requirements under ERISA for resignation of a Trustee. Additionally, advised on
customary analytics and analysis for Trustee’s review and diligence on valuations and or fairness
opinions.

Reviewed, discussed and advised counsel on financial projections and other components of
debtor’s valuation and fairness opinion.

Reviewed ESOP documentation.

Conducted search for replacement Trustee thru industry organizations such as NECO.

Review of over 4,500 documents in preparing deposition questions and assembling
documentation supporting questions for counsel regarding the bank as well as the financial advisors to
Debtor. Back-built estimates of specific issues in both pre-transaction valuations and post transaction
fairness opinions to advise counsel.

Reviewed and commented or discussed cases provided by counsel focused on valuation and
fairness opinion issues.

Reviewed, discussed and advised counsel on valuation components.

Reviewed, discussed and advised on debt coverage analytics, customary due diligence
procedures in ESOP transactions in the context of valuations and fairness opinions.

Review and comment on settlement talking points.
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Reviewed and commented/discussed draft complaints for various entities who served debtor
during the transactions.

3C Advisors timely made its application to the Court to authorize its employment and such
application was approved by the Court on December 10, 2020.

ll.
SUMMARY DESCRIPTION OF SERVICES PROVIDED BY APPLICANT

Pursuant to Local Bankruptcy Rule 2016-2(b), Applicant's fee application fee summary is
attached hereto as Exhibit “B.”. Summaries by category of Applicant's services rendered during
the time period covered by this Application are set forth below.

Valuation Services

3C Advisors LLC provided research, consultations, analytics and related advice primarily on
issues of ESOP Trustee, ESOP valuations and fairness opinions as in multiple transactions of Debtor,
and ESOP Trustee duties in procedural and financial matters.

Hl.
DETERMINATION OF APPROPRIATE AWARD OF FEES

Applicant's custom and practice is to keep detailed time records for all services
performed by the firm’s professional and other staff. As explained in the attached declaration of
Stephen C. Jones, Applicant keeps detailed daily time records reflecting the services rendered
in this case. These daily time records are reduced on a monthly basis to statements of account
which set forth the date when the various services were rendered and the associated time and
charges.

Pursuant to Local Bankruptcy Rule 2016-2(b), Applicant’s fee application summary is
attached as Exhibit “A” hereto. Applicant's statements of account for this case are attached as
Exhibit “A” hereto.

The normal hourly rates for professionals for the period covered by this application were

as follows:
Attorney Hourly Rate

Stephen Jones $425.00

 

 
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Tim Croushore $425.00

The fees applied for in this application are based on the time spent and the nature,
extent, and value of services performed. When various tasks provided by either Stephen C.
Jones or Tim Croushore were of a nature that less technical expertise were required, or less
expensive staff were appropriate, rates lower than $425 are applied to the hours for those lower
value tasks. In addition, the fees prayed for in this application, being based on the normal and
customary hourly charges of financial and valuation professionals are comparable to the
charges that would be incurred for services in connection with a case other than a case under
Title 11. See 11 U.S.C. § 330(a)(3). The instant fee application conforms to Federal Rule of
Bankruptcy Procedure 2016 and the Guidelines of the United States Trustee for Region XV.
The services that were performed were essential to and benefited the estate, creditors, and
other parties-in-interest.

IV.
CONCLUSION

Applicant respectfully requests a determination that the amounts requested in this
Application are allowable and award the total amount of compensation requested in the sum of
$24,926.25 in Valuation Professionals’ fees incurred for the period November 13, 2020 through
and September 23, 2021, for a total of $31,580.20. .

  
  

Stephen C. Jo

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EXHIBIT A

DECLARATION OF STEPHEN C. JONES

|, Stephen C. Jones, declare:

1. | am over the age of eighteen and am the managing member of 3C Advisors LLC
(“Applicant”), Financial Expert Witness to Ronald E. Stadtmueller, Chapter 7 Trustee (“Trustee”).
| have personal knowledge of the facts set forth in this Declaration, except facts stated on
information and belief, which | believe to be true. If called as a witness, | could and would testify
competently with respect to the fact set forth herein.

2. All fee application summaries required by Local Bankruptcy Rule 2016-2(b) are
attached hereto as Exhibit "B".

3. In an effort to ensure accuracy of the statements of account, Applicant follows
several practices. Each valuation professional or other timekeeper who performs services on a
given case maintains a daily time record of that person's activities for the day. Records are kept
on the basis of every tenth of an hour, that is, for every six minutes. The daily time records are
reduced to periodic statements of account that set forth the dates the various services were
rendered, the time spent performing such services, and the person performing such services. |
review the periodic statements of account to ensure that all services listed on that statement
were in fact performed for that particular client and to correct any errors that are noted.

4. As the professional responsible for this matter, | reviewed the itemized
statements of account generated each month in this matter. True and correct copies of
Applicant's itemized statement of account for this case are attached as Exhibit "B" hereto.

5. No agreement exists between Applicant and any other person or entity for
division of the compensation requested.

| declare under penalty of perjury that the foregoing is true and correct, and that this

declaration was executed on the date set forth below at San Diego, California.

 
 

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Dated: ‘|

 

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